                 EXHIBIT H




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                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

       Plaintiff,                                    Case No. 5:19-cv-00475-BO

vs.                                            AT&T MOBILITY LLC’S FIRST
                                                 SUPPLEMENTAL INITIAL
AT&T MOBILITY LLC,
                                               DISCLOSURES PURSUANT TO
       Defendant.                                FEDERAL RULE OF CIVIL
                                                   PROCEDURE 26(a)(1)




       Defendant AT&T Mobility LLC (“AT&T”), by and through undersigned

counsel, hereby makes the following first supplemental initial disclosures pursuant

to Rule 26(a)(1) of the Federal Rules of Civil Procedure.

       These disclosures are made prior to the completion of discovery, after making

a good faith inquiry and investigation as is reasonable under the circumstances.

This investigation is continuing, and AT&T reserves the right to correct and/or

supplement these disclosures pursuant to Rule 26(e) should it become aware of

additional relevant information.

       By making the following disclosures, AT&T does not represent that it is

identifying every document, tangible thing, or witness relevant to this lawsuit. In

addition, AT&T does not waive its right to object to any discovery request or

proceeding involving or relating to these disclosures on any grounds, including

competency, privilege, the work product doctrine, relevancy, hearsay, materiality,


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undue burden, or any other valid objection. Furthermore, these disclosures are not

an admission by AT&T regarding any matter. All of the disclosures set forth below

are made subject to the above qualifications.

       (i)   The name and, if known, the address and telephone number of
each individual likely to have discoverable information—along with the
subjects of that information—that the disclosing party may use to support
its claims or defenses, unless the use would be solely for impeachment.

       Subject to the above qualifications, and in addition to the information AT&T

disclosed in its May 18, 2020 initial disclosures, AT&T identifies the following

additional individuals who may have knowledge regarding the claims or defenses in

this matter:


 Name & Contact           Employer               Area of Knowledge
 Information

 Brian Rexroad, VP        AT&T                   Knowledge regarding industry
 Security Platforms                              issues, evolution of customer
                                                 authentication, use of SMS as a
                                                 second factor, account takeover
                                                 tactics and security responses
 Valerie Scheder,         AT&T                   Knowledge regarding measures
 AVP Global Fraud                                AT&T takes in an effort to
 Management                                      prevent SIM swap fraud and to
                                                 remediate customers
 Kristi Parrott, AVP      AT&T                   Knowledge regarding measures
 Global Fraud                                    AT&T takes in an effort to
 Management                                      prevent SIM swap fraud and to
                                                 remediate customers
 Ray Hill, Director       AT&T                   Knowledge regarding AT&T’s
 Project Program                                 policies and procedures for
 Management                                      customer authentication and
                                                 account access in retail stores
                                                 and consumer care call centers.




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       AT&T also anticipates the potential need for testimony and/or evidence from

additional persons identified through discovery.

       By this initial disclosure statement, AT&T does not authorize Plaintiff or its

representatives to communicate with AT&T’s present or former employees, outside

contractors, agents, representatives or other individuals who may have privileged

information, or authorize any communications otherwise prohibited by applicable

rules of professional conduct. Any such individuals should be contacted through

AT&T’s counsel.


This 21st day of October, 2020.




                            Joseph S. Dowdy (N.C. State Bar No. 31941)
                            Phillip A. Harris, Jr. (N.C. State Bar No. 39740)
                            KILPATRICK TOWNSEND & STOCKTON LLP
                            4208 Six Forks Road, Suite 1400
                            Raleigh, NC 27609
                            Telephone: (919) 420-1700
                            Facsimile: (919) 510-6120
                            Email: jdowdy@kilpatricktownsend.com
                                    pharris@kilpatricktownsend.com

                            Michael Breslin
                            KILPATRICK TOWNSEND & STOCKTON LLP
                            1100 Peachtree St. NE, Suite 2800
                            Atlanta, GA 30309
                            Telephone: (404) 815-6500
                            Facsimile (404) 815-6555
                            Email: mbreslin@kilpatricktownsend.com

                            Counsel for Defendant AT&T Mobility LLC



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                            CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I served the foregoing document by

electronic mail sent to the following:

Terence S. Reynolds                              Christopher LaVigne
treynolds@shumaker.com                           christopher.lavigne@withersworldwide.com
Lucas D. Garber                                  Joe Gallo
lgarber@shumaker.com                             joseph.gallo@withersworldwide.com
SHUMAKER LOOP & KENDRICK LLP                     WITHERS BERGMAN LLP
101 South Tyron Street                           430 Park Avenue, 10th Floor,
Suite 2200                                       New York, New York 10022-3505
Charlotte, North Carolina 28280
                                                 Counsel for Plaintiff Jason Williams
Counsel for Plaintiff Jason Williams




       This the 21st day of October, 2020.




                                                  Joseph S. Dowdy




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